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 7                                                                The Honorable Robert S. Lasnik

 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE

10   SUSAN SOTO PALMER, et al.,                         NO. 3:22-cv-05035-RSL

11                     Plaintiffs,                      NOTICE OF WITHDRAWAL OF
                                                        COUNSEL
12           v.
                                                        (CLERK’S ACTION REQUIRED)
13   STEVEN HOBBS, in his official capacity
     as Secretary of State of Washington, and
14   the STATE OF WASHINGTON,

15                     Defendants,

16          and

17   JOSE TREVINO, ISMAEL G. CAMPOS,
     and State Representative, ALEX YBARRA,
18
                       Intervenor-Defendants.
19

20   TO:            CLERK OF THE ABOVE-ENTITLED COURT

21   AND TO:        COUNSEL FOR PLAINTIFFS

22   AND TO:        COUNSEL FOR DEFENDANT STEVEN HOBBS

23   AND TO:        COUNSEL FOR DEFENDANT STATE OF WASHINGTON

24   AND TO:        COUNSEL FOR INTERVENOR-DEFENDANTS

25           PLEASE TAKE NOTICE that ELANA S. MATT, Assistant Attorney General, hereby

26   withdraws as counsel for Defendants Laurie Jinkins, in her official capacity as Speaker of the

     NOTICE OF WITHDRAWAL OF                        1              ATTORNEY GENERAL OF WASHINGTON
                                                                        Complex Litigation Division
     COUNSEL -- NO. 3:22-cv-05035-RSL                                   800 Fifth Avenue, Suite 2000
                                                                          Seattle, WA 98104-3188
                                                                               (206) 464-7744
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 1   Washington State House of Representatives (terminated April 13, 2022); and Andy Billig, in his

 2   official capacity as Majority Leader of the Washington State Senate (terminated April 13, 2022),

 3   in the above-entitled action, effective immediately. All future correspondence should be directed

 4   to Defendants Laurie Jinkins and Andy Billig’s remaining counsel of record.

 5           DATED this 2nd day of October 2023.

 6                                                ROBERT W. FERGUSON
                                                  Attorney General
 7
                                                  /s/ Elana S. Matt
 8                                                ELANA S. MATT, WSBA #37719
                                                  Assistant Attorney General
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     NOTICE OF WITHDRAWAL OF                         2               ATTORNEY GENERAL OF WASHINGTON
                                                                          Complex Litigation Division
     COUNSEL -- NO. 3:22-cv-05035-RSL                                     800 Fifth Avenue, Suite 2000
                                                                            Seattle, WA 98104-3188
                                                                                 (206) 464-7744
